                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE WESTERN DISTRICT OF TENNESSEE

                                      WESTERN DIVISION




 Leigh M. Johnson,
    Plaintiff,

 v.                                                Case No. 2:25-cv-02618-MSN-atc

 Christian Brothers University,
   Defendant.




         DECLARATION IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT



      I, Leigh M. Johnson, declare as follows pursuant to 28 U.S.C. § 1746:

   1. I am the Plaintiff in this action, proceeding pro se against Defendant Christian Brothers
University in the United States District Court for the Western District of Tennessee, Case No.
2:25-cv-02618-MSN-atc.

   2. According to the proof of service on file with the Court, Defendant Christian Brothers
University was personally served with the Summons and Complaint on June 20, 2025.

  3. Pursuant to Federal Rule of Civil Procedure 12(a)(1)(A)(i), Defendant’s response to the
Complaint was due within 21 days of service—on or before July 11, 2025.

    4. As of the date of this declaration, July 17, 2025, Defendant has not filed an answer,
responsive pleading, or motion under Rule 12, nor have they otherwise appeared in this matter.
No attorney has filed a notice of appearance on behalf of Defendant.

   5. The docket reflects that more than 21 days have passed since service and no response has
been filed.

   6. I respectfully request that the Clerk enter default against Defendant Christian Brothers
University pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.
   I declare under penalty of perjury that the foregoing is true and correct.

   Executed on July 17, 2025.


Respectfully submitted,


/s/ Leigh M. Johnson

Leigh M. Johnson

Pro Se Plaintiff

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